                 4:19-cv-03088-DCC                Date Filed 05/06/20         Entry Number 30           Page 1 of 1

AO 450 (SCD 04/2010) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                  Terrell Devon Freeman                             )
                           Petitioner                               )
                          v.                                        )       Civil Action No.       4:19-cv-3088-DCC
                Warden FCI Bennettsville                            )
                          Respondent                                )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the petitioner (name)                  recover from the respondent (name)               the amount of                dollars ($   ),
which includes prejudgment interest at the rate of            %, plus postjudgment interest at the rate of          %, along with
costs.
’ the petitioner recover nothing, the action be dismissed on the merits, and the respondent (name)
recover costs from the petitioner (name)                             .
 other: This Petition is dismissed without prejudice for failure to prosecute pursuant to Federal Rule of Civil
Procedure 41(b).


This action was (check one):
’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

 decided by the Honorable Donald C. Coggins, Jr., United States District Judge who adopted the Report and
Recommendation of the Honorable Thomas E. Rogers, III, United States Magistrate Judge.


Date: May 6, 2020                                                          CLERK OF COURT


                                                                                                     s/Debbie Stokes
                                                                                        Signature of Clerk or Deputy Clerk
